February 24, 2020

The Honorable Jesse M. Furman
Thurgood Marshall U.S. Courthouse
United States District Court for the Southern District of New York
40 Centre Street, Room 2202
New York, NY 10007

       RE:       Plaintiffs’ proof of notice in State of New York v. Wolf, 20-CV-1127 (JMF).

Dear Judge Furman,

       As directed by the Court’s Order dated February 24, 2020 (Docket No. 13), and pursuant
to Rule 1.A of the Court’s Individual Rules and Practices, Plaintiffs submit this letter to provide
the Court with proof that counsel for the Defendants in this action has been notified of the
Court’s Order. The undersigned served the Court’s February 24 Order and a copy of the Court’s
Individual Rules and Practices on counsel for the Defendants by email today. Ex. 1.

                                       Respectfully submitted,

                                       LETITIA JAMES
                                       Attorney General of the State of New York

                                       By: /s/ Matthew Colangelo
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cc (by email):

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